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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                    )
JOHN AND JANE DOES 1-9              )
Employees/Agents of the Federal Bureau
                                    )
of Investigations,                  )
on behalf of themselves             )
and those similarly situated        )
                                    )
        Plaintiffs,                 )                         Case No. 25-cv-00325
                                    )
        v.                          )                         CLASS ACTION
                                    )
                                    )                         ORAL ARGUMENT REQUESTED
DEPARTMENT OF JUSTICE               )
James McHenry                       )
Acting Attorney General             )
of the United States,               )
                                    )
        Defendant.                  )
____________________________________)


                       PLAINTIFFS’ MOTION TO PROCEED
               UNDER PSEUDONYM AND MEMORANDUM IN SUPPORT

       As described in the Class Action Complaint, Plaintiffs are being systematically targeted

for termination as a result of their involvement in certain investigations related to President Donald

J. Trump, specifically including the attack at the Capitol on January 6, 2021 (“Jan. 6 attack”) and

the lawful search of President Trump’s residence at Mar-a-Lago related to the removal, retention

and storage of classified documents (“Mar-a-Lago case”). It is common knowledge that FBI

agents and other agency personnel routinely investigate violent and sophisticated criminals – many

of whom are ultimately prosecuted and incarcerated, and harbor animosity against law

enforcement, including those recently released from prison following President Trump’s pardon

for criminal convictions related to their involvement in the Jan. 6 attack. Plaintiffs include

individuals with decades of sensitive investigative experience at the FBI, including some working
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on counterintelligence and espionage matters, and public exposure of their identities would subject

them, and their families, to immediate risk of doxing, swatting, harassment, and physical harm.

Upon information and belief, this conduct against FBI agents and other personnel who worked on

the Jan 6 and Classified Documents cases has already begun by those convicted for criminal

actions related to Jan. 6 who have recently been pardoned, including naming FBI putative class

members on “dark websites” (aka the “dark web”). Further, due to their work at the FBI, public

disclosure of plaintiffs’ identities could directly interfere with their current cases and compromise

the FBI’s law enforcement operations.

        Because of the high risk of harm to Plaintiffs and their families by the including their names

in this litigation, Plaintiffs respectfully request that the Court permit them to proceed

pseudonymously in this matter.1

                                           ARGUMENT

   I.      PLAINTIFFS SHOULD BE PERMITTED TO PROCEED UNDER
           PSEUDONYMS
        Federal Rule of Civil Procedure 10(a) provides that the title of a complaint must name all

of the parties. Fed. R. Civ. P. 10(a); see also Doe v. Fed. Republic of Germany, 680 F. Supp. 3d

1, 4 (D.D.C. 2023), reconsideration denied, No. CV 23-1782 (JEB), 2023 WL 4744175 (D.D.C.

July 21, 2023); Doe v. Pub. Citizen, 749 F.3d 246, 273 (4th Cir. 2014). Courts are hesitant to allow

parties to proceed pseudonymously given that the practice can “undermine[] the public’s right of

access to judicial proceedings.” Pub. Citizen, 749 F.3d at 273. However, the D.C. Circuit has

held that anonymity is permitted under appropriate circumstances. In re Sealed Case, 931 F.3d

92, 96 (D.C. Cir. 2019); see also James v. Jacobson, 6 F.3d 233, 238 (4th Cir. 1993). This rule



1 This Motion is being filed contemporaneously with the initial complaint in this action, and

accordingly, the case has not yet been assigned counsel at Defendant Department of Justice.

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recognizes that, in certain circumstances, “privacy or confidentiality concerns are . . . sufficiently

critical that parties or witnesses should be allowed this rare dispensation.” James, 6 F.3d at 238.

Thus, trial courts have the discretion to permit parties to proceed anonymously, although a party

seeking anonymity “bears the weighty burden of both demonstrating a concrete need for such

secrecy, and identifying the consequences that would likely befall it if forced to proceed in its own

name.” In re Sealed Case, 971 F.3d 324, 326 (D.C. Cir. 2020).

       Anonymity is paramount given that Plaintiffs are FBI agents, who, as previously argued

by Defendant, have an inherent interest in maintaining their anonymity.           See Armstrong v.

Executive Ofc. of the President, 97 F.3d 575, 581 (D.C. Cir. 1996) (citing Baez v. Department of

Justice, 647 F.2d 12328, 1339 (D.C. Cir. 1980) for the proposition that “FBI agents always have

a privacy interest in the disclosure of their names.”). The court in Lesar v. United States Dept. of

Justice, 636 F.2d 472, 487 (D.C. Cir. 1980) reached a similar conclusion, holding that:

          As several courts have recognized, [FBI] agents have a legitimate interest in
          preserving the secrecy of matters that conceivably could subject them to
          annoyance or harassment in either their official or private lives.

Id.

       District Courts in this Circuit consider a non-exhaustive list of factors set forth by the

Fourth Circuit in James, 6 F.3d at 238-39. In re Sealed Case, 931 F.3d at 97. This “balancing test

is necessarily flexible and fact driven.” Id. These following factor should therefore guide courts in

deciding whether to grant anonymity requests:

         (1) [W]hether the justification asserted by the requesting party is merely to avoid the
             annoyance and criticism that may attend any litigation or is to preserve privacy in
             a matter of sensitive and highly personal nature;
         (2) whether identification poses a risk of retaliatory physical or mental harm to the
             requesting party or even more critically, to innocent non-parties;
         (3) the ages of the persons whose privacy interests are sought to be protected;



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         (4) whether the action is against a governmental or private party; and,
         (5) relatedly, the risk of unfairness to the opposing party from allowing an action
             against it to proceed anonymously.

 James, 6 F.3d at 238; see also Pub. Citizen, 749 F.3d at 273 (reiterating James factors and

 noting that “[t]his Court has recognized that in exceptional circumstances, compelling concerns

 relating to personal privacy or confidentiality may warrant some degree of anonymity in

 judicial proceedings, including use of a pseudonym.”).            Furthermore “when a plaintiff

 challenges the government or government activity, [as found here] courts are more like[ly] to

 permit plaintiffs to proceed under a pseudonym than if an individual has been accused publicly

 of wrongdoing.” Nat’l Ass’n of Waterfront Employers v. Chao, 587 F. Supp. 2d 90, fn. 9

 (D.D.C. 2008) (citations omitted).

       A. The first James factor supports granting Plaintiffs’ motion to proceed
          anonymously.

       The first James factor supports granting Plaintiffs’ motion to proceed anonymously. While

it cannot be disputed that Plaintiffs do not move to pursue their cases pseudonymously “merely to

avoid annoyance and criticism associated with any litigation,” Plaintiffs’ justification for seeking

anonymity does not neatly fit into this factor. This first factor “commonly involves intimate issues

such as sexual activities, reproductive rights, bodily autonomy, medical concerns, or the identity

of abused minors.” In re Sealed Case, 971 F.3d at 327; Doe v. Bogan, 542 F. Supp. 3d 19, 23

(D.D.C. 2021). However, as stated, supra, the James factors are non-exhaustive, “flexible and fact

driven.” Accordingly, courts have held that certain federal employees, given their work, have

identities that are “sensitive and highly personal,” and therefore satisfy this factor. See, e.g., Doe

v. Austin, No. CV 22-3474 (RC), 2024 WL 864197, at *3 (D.D.C. Feb. 29, 2024) (motion to

proceed under pseudonym granted for intelligence officer for the Department of Defense because

disclosure of identity could place plaintiff and loved ones at risk of retaliation by criminal elements


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involved in her work); Bird v. Barr, No. 19-CV-1581, 2019 WL 2870234, at *5 (D.D.C. July 3,

2019) (motion to proceed under pseudonym granted for FBI agents due to concerns over personal

safety should identities be revealed).

       B. The second James factor supports granting Plaintiffs’ motion to proceed
          anonymously.
       The second James factor also supports granting Plaintiffs’ motion to proceed

 anonymously. Plaintiffs are particularly vulnerable parties, and their privacy concerns are well

 founded. As alleged, Plaintiffs are being targeted for termination based solely on the fact that

 they were assigned work concerning the January 6, 2021 riot at the Capitol and the Classified

 Documents case, and many individuals, including those recently pardoned for crimes

 committed at the Capitol, have begun a campaign to publicize the names of the FBI agents and

 other personnel involved in those investigations to harass and threaten the safety of these

 employees and their families. Therefore, Plaintiffs’ case implicates “privacy or confidentiality

 concerns” of the highest order. James, 6 F.3d at 238. Courts have recognized that threats of

 harassment and violence especially favor anonymity. Doe v. Austin, 2024 WL 864197, at *3

 (second factor satisfied where plaintiff worked in sensitive role as intelligence officer and

 “would be in immediate danger of retaliation, capture, ransom, abduction, or death should

 identify be revealed,” and further harm to federal department could result from loss of

 anonymity of agents); see also Doe v. The Rector and Visitors of George Mason U., 179 F.

 Supp. 3d 583, 593 (E.D. Va. 2016) (“the fact that accusations of [sexual misconduct] inspire

 passionate responses and have severe ramifications is reflected in the anonymity afforded to

 the accusers…”); Doe v. New Ritz, Inc., No. CIV. WDQ-14-2367, 2015 WL 4389699, at *2

 (D. Md. July 14, 2015), citing Doe v. Stegall, 653 F.2d 180, 186 (5th Cir., 1981) (threats of

 harassment and violence favored anonymity).




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        C. The third James factor is not relevant to Plaintiffs’ motion to proceed
           anonymously.

        Though Plaintiffs are adults, many have families living with them. Proceeding

pseudonymously can also be granted to “shield” immediate family members, which include

Plaintiffs’ minor children. See Strike 3 Holdings, LLC v. Doe, No. 1:23-CV-00445-JRR, 2023

WL 3251412, at *3 (D. Md. May 4, 2023) (outlining that “by proceeding pseudonymously,

Defendant would also shield immediate family members, including a spouse, who ought not bear

the burden of exposure of the highly sensitive, private matters that may come to light in this

action pertaining to Defendant.”). Plaintiffs wish to omit their names from the pleadings not to

avoid criticism, but to mitigate the risk of retaliatory harassment and violence to Plaintiffs and

their children that this litigation presents.

        D. The fourth James factor is neutral or slightly leans against Plaintiffs’ motion to
           proceed anonymously.

        In considering the fourth James factor, “there is a heightened public interest when an

individual or entity files a suit against the government.” Doe v. Austin, 2024 WL 864197, at *4,

quoting In re Sealed Case, 971 F.3d at 329. However, like the plaintiffs in Bird, the only

defendant in this action is a government officer named in his official capacity as acting head of

the Department of Justice, and therefore “proceeding under pseudonyms will have no impact on

private rights.” Bird, 2019 WL 2870234, at *6 (finding that this factor does not impact the

decision to grant plaintiffs’ motion to proceed pseudonymously); see also Chao, 587 F. Supp. 2d

90, fn. 9 (“when a plaintiff challenges the government or government activity, [as found here]

courts are more like[ly] to permit plaintiffs to proceed under a pseudonym than if an individual

has been accused publicly of wrongdoing.”).

        E. The fifth James factor supports granting Plaintiffs’ motion to proceed
           anonymously.



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       Finally, the fifth James factor supports granting Plaintiffs’ motion to proceed

anonymously. There is no risk of unfairness or prejudice to Defendant in this matter. Plaintiffs

will fully disclose their identities to Defendant, and accordingly, “anonymity would not

compromise the defendant’s ability to defend the action and does not pose a ‘risk of unfairness

to the opposing party.’” Bird, 2019 WL 2870234, at *6, quoting Chao, 587 F. Supp. 2d at 99;

Doe v. Austin, 2024 WL 864197, at *4 (Defendant suffers no “risk of unfairness” by plaintiff

proceeding pseudonymously where Defendant is provided opposing party’s identity). See also

A.D. v. Wyndham Hotels & Resorts, Inc., No. 4:19-120, 2020 WL 5269758, at *2 (E.D. Va. Mar.

20, 2020) (“Where a plaintiff’s identity is known to the defendant, and the motion to proceed

under pseudonym is made for the purpose of concealing the plaintiff’s identity only from the

public, there is little risk of unfairness to the defendant.”) (internal quotations and citation

omitted). Further, “whatever reputational harm comes to Defendant from these allegations is the

same regardless of whether Plaintiff[s] use [their] actual name[s] or Jane Doe; the allegations are

the same no matter who brings them.” Doe v. Darden Restaurants, Inc., 2024 WL 2881121, at

*3 (D. Md. June 7, 2024).

                                        CONCLUSION

       For the foregoing reasons, this case is one of the circumstances, due to Plaintiffs’ valid

concerns over safety, for which it is entirely appropriate for Plaintiffs to proceed

pseudonymously. The sensitive nature of Plaintiffs’ identities – both in terms of the work they

perform for the FBI and the real threat to their personal safety and the safety of their families –

weigh strongly in favor of granting Plaintiffs’ request to ensure anonymity. Moreover, because

Defendant will be made aware of Plaintiffs’ identities and because Plaintiffs would certainly

cooperate with Defendant’s reasonable discovery requests, there is no real risk of unfairness to



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Defendant. Accordingly, Plaintiffs respectfully request that this Court grant this Motion.



                                                     Respectfully submitted,

                                                     /s/Pamela M. Keith
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                                                     Counsel for Plaintiffs and the Class




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                                   CERTIFICATE OF SERVICE

       This certifies that a true and correct copy of Plaintiffs’ Motion To Proceed Under

Pseudonym And Memorandum In Support was sent by electronic filing on this 4th day of

February, 2024 and served on Defendant by in-person service of process on the following:

Executive Office for United States Attorneys
U.S. Department of Justice
950 Pennsylvania Avenue NW
Room 2242
Washington, DC 20530-0001

Department of Justice
950 Pennsylvania Avenue NW
Washington, DC 20530-001

Federal Bureau of Investigation
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                                                   /s Pamela M. Keith
                                                   Pamela M. Keith




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